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                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    WAYMO LLC,                                        Case No.17-cv-00939-WHA (JSC)
                                                      Plaintiff,
                                   8
                                                                                          ORDER REGARDING WAYMO’S
                                                v.                                        IDENTIFICATION OF DOCUMENTS
                                   9
                                                                                          FOR THE COURT’S IN CAMERA
                                  10    UBER TECHNOLOGIES, INC., et al.,                  REVIEW
                                                      Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          This Court ordered Uber to provide the Court for its in camera review 50 pages Waymo

                                  14   identified as potentially improperly redacted on attorney-client or attorney work-product grounds.

                                  15   (Dkt. No. 2454.) The Special Master has now brought to the Court’s attention a dispute among

                                  16   the parties as to whether the pages Waymo identifies must be from documents logged or produced

                                  17   as part of the supplemental post-November 2017 discovery. They must. Waymo’s December 29,

                                  18   2017 letter brief was focused exclusively on Uber’s supplemental production and logs; Waymo

                                  19   did not make any argument as to why this Court should review in camera documents long ago

                                  20   produced in this lawsuit and this Court did not rule that it would review such documents.

                                  21          IT IS SO ORDERED.

                                  22   Dated: January 8, 2018

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                                                                                                   JACQUELINE SCOTT CORLEY
                                  25                                                               United States Magistrate Judge
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